Case 2:06-cv-05485-PD Document 4 Filed 03/22/07 Page 1of5
Case 2:06-cv-05485-PD Document 3 Filed 03/21/2007 Page 1 of 5

  

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENN SYLVANIA

 

ADAMS RESPIRATORY OPERATIONS, INC.
Plaintiff,

v. C.A. No. 2:06-cv-04418-PD

PHARMACEUTICAL HOLDINGS CORP.,
MUTUAL PHARMACEUTICAL CO., INC. , and
UNITED RESEARCH LABORATORIES, INC.

FILED
MAR 2 2.2008

Defendants.

 

MICHAEL &. KUNZ, Cierk

By [ 4 / Dep. Gre:
Sa

 

 

ADAMS RESPIRATORY THERAPEUTICS, INC.

   

   

Plaintiff,

V.

C.A. No. 2:06-cv-05485-PD wv

   
 

PHARMACEUTICAL HOLDINGS CORP.,
MUTUAL PHARMACEUTICAL CO. ,INC.,
UNITED RESEARCH LABORATORIES, INC. ~

fy

Defendants.

Eo JE NG

 

ENTERED

MAR 2 3 2007
CLERK OF COURT

ME} 6256103v.1
Case 2:06-cv-05485-PD Document 4 Filed 03/22/07 Page 2 of 5
Case 2:06-cv-05485-PD Document3 Filed 03/21/2007 Page 2 of 5

 

PHARMACEUTICAL HOLDINGS CORP.,

MUTUAL PHARMACEUTICAL COo., INC. , and

UNITED RESEARCH LABORATORIES, INC.
Plaintiffs, C.A. No. 2:07-cv-00217-PD
Vv.

ADAMS RESPIRATORY OPERATIONS, INC.

Defendants.

 

CONSENT JUDGMENT AND DISMISSAL WITHOUT PREJUDICE

Adams Respiratory Operations, Inc. (“ARO”) and Adams Respiratory
Therapeutics, Inc. (“ART”) (collectively “Adams”) and Pharmaceutical Holdings Corp., Mutual
Pharmaceutical Co., Inc. and United Research Laboratories, Inc. (collectively “Mutual’’)
STIPULATE THAT:

1. Adams and Mutual are parties to the patent litigations captioned Adams
Respiratory Operations, Inc. v. Pharmaceutical Holding Corp., Mutual Pharmaceutical Co., Inc.
and United Research Laboratories, Inc., Civil Action No. 2:06-CV-04418-PD, and Adams
Respiratory Therapeutics, Inc. v. Pharmaceutical Holdings Corp., Mutual Pharmaceutical Co.,
Inc. and United Research Laboratories, Inc., Civil Action No. 2:06-CV-05485-PD, both of
which are pending before the Honorable Paul S. Diamond in the United States District Court for
the Eastern District of Pennsylvania, and are also parties to the related antitrust litigation
captioned Pharmaceutical Holdings Corp., Mutual Pharmaceutical Co., Inc. and United

Research Laboratories, Inc. v. Adams Respiratory Operations, Inc., Civil Action No. 2:07-CV-

ME]! 6256103v.1
Case 2:06-cv-05485-PD Document 4 Filed 03/22/07 Page 3 of 5
Case 2:06-cv-05485-PD Document 3 Filed 03/21/2007 Page 3 of 5

00217-PD, also pending before the Honorable Paul S. Diamond in the United States District

Court for the Eastern District of Pennsylvania (collectively the “Lawsuits”).

2. Adams and Mutual wish to settle the Lawsuits.

3. This Court has jurisdiction over the parties and the subject matter of the
Lawsuits.

4. ARO is the owner of United States Patent No. 6,372,252 (the “’252
patent”).

5. ART is the holder of several New Drug Applications (“NDAs”) under
which the United States Food and Drug Administration (“FDA”) granted approval to market
these guaifenesin-containing pharmaceutical formulations.

6. Pursuant to 21 U.S.C. § 355(j), Mutual has filed Abbreviated New Drug
Application (“ANDA”) No. 78-333 with the FDA, seeking permission to market 600 and 1200
mg generic versions of ART’s NDA products. Mutual’s ANDA No. 78-333 currently is pending
with the FDA and has not yet been approved.

7. In Adams Respiratory Operations, Inc. v. Pharmaceutical Holdings Corp.,
Mutual Pharmaceutical Co., Inc. and United Research Laboratories, Inc., Civil Action No. 2:06-
CV-04418-PD, and Adams Respiratory Therapeutics, Inc. v. Pharmaceutical Holdings Corp.,
Mutual Pharmaceutical Co., Inc. and United Research Laboratories, Inc., Civil Action No. 2:06-
CV-05485-PD, Adams has alleged that Mutual infringed certain claims of the ‘252 patent by
submitting ANDA No. 78-333 to the FDA.

8. In the Lawsuits, Mutual has asserted several claims, defenses, counts
and/or counterclaims, including that the ‘252 patent is not infringed, invalid and unenforceable,

and that Adams has committed exclusionary, anticompetitive and unlawful acts in violation of

-3-

ME! 6256103v.1
Case 2:06-cv-05485-PD Document 4 Filed 03/22/07 Page 4 of5

Case 2:06-cv-05485-PD Document 3

Filed 03/21/2007 Page 4 of 5

the Sherman Act, the Clayton Act and state common law in connection with bringing this action,

the ‘252 patent and NDA No. 21-282.

9. Adams and Mutual have reached an agreement to settle the Lawsuits, as

set forth in a separate Settlement and License Agreement (the “Settlement Agreement’), which is

being executed contemporaneously.

10. All claims and counterclaims in the Lawsuits are hereby dismissed without
prejudice.

11. Each of the parties shall bear their own costs and attorneys’ fees.

12. Each of the parties consents to personal jurisdiction in Pennsylvania for

purposes of enforcing the Settlement Agreement.

SO STIPULATED:

/s/ Dominick A. Conde

 

Dominick A. Conde

John D. Carlin

Colleen Tracy

FITZPATRICK, CELLA, HARPER & SCINTO
30 Rockefeller Plaza

New York, NY 10112

(212) 218-2100

Alexander Kerr

Lisa M. Salazar

McCARTER & ENGLISH, LLP
Mellon Bank Center

1735 Market Street, Suite 700
Philadelphia, PA 19103

(215) 979-3800

Attorneys for Plaintiffs

Adams Respiratory Therapeutics, Inc. and
Adams Respiratory Operations, Inc.

ME] 6256103v.1

/s/ James D. Veltrop

James D. Veltrop

William M. Rubenstein

Chad A. Landmon

Michelle H. Seagull

AXINN, VELTROP & HARKRIDER LLP
90 State House Square

Hartford, CT 06103-3702

Telephone (860) 275-8100

Facsimile: (860) 275-8101

James P. Doyle

AXINN, VELTROP & HARKRIDER LLP
1370 Avenue of the Americas

New York, NY 10019

Telephone: (212) 728-2200

Facsimile: (212) 728-2201

Howard I. Langer

LANGER & GROGAN, P.C,
1600 Market Street, Ste. 2020
Philadelphia, PA 19103
Case 2:06-cv-05485-PD Document 4 Filed 03/22/07 Page 5of5

Case 2:06-cv-05485-PD Document 3

Dated:

 

SO ORDERED:
Dated: 3( rior

 

3-23-62

Lap qe.
UNA

“oor
4}
( oAL
iN a
4 7

o
i. Melee.

a

ME] 6256103v.1

Filed 03/21/2007 Page 5 of 5

Telephone: (215) 419-6536
Facsimile: (215) 419-6546

Attorneys for Defendants
Pharmaceutical Holdings Corp; Mutual
Pharmaceutical Co., Inc.

United Research Laboratories, Inc.

Dated:

 

CaLA De

 

Honorable Paul S. Diamond
U.S. District Court, E.D.Pa.
